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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                 NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                        SALIL KHANDWALA, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert motion

filed against Salil Khandwala for Ethicon Wave 1, Dkt. 2003 (motion), 2004 (memorandum in

support) and Ethicon Wave 2, Dkt. 2469 (motion), 2470 (memorandum). Plaintiffs respectfully

request that the Court exclude Salil Khandwala’s testimony, for the reasons expressed in the Wave 1

and Wave 2 briefing. This notice applies to the following Wave 6 cases identified in Exhibit A

attached hereto.

Dated: October 20, 2017                                  Respectfully submitted,

                                                         /s/ D. Renee Baggett
                                                         Bryan F. Aylstock, Esq.
                                                         Renee Baggett, Esq.
                                                         Aylstock, Witkin, Kreis and Overholtz, PLC
                                                         17 East Main Street, Suite 200
                                                         Pensacola, Florida 32563
                                                         (850) 202-1010
                                                         (850) 916-7449 (fax)
                                                         E-mail: rbaggett@awkolaw.com


                                                         /s/ Thomas P. Cartmell
                                                         THOMAS P. CARTMELL
                                                         Wagstaff & Cartmell LLP
                                                         4740 Grand Avenue, Suite 300
                                                         Kansas City, MO 64112
                                                         816-701-1102
                                                         Fax 816-531-2372
                                                         tcartmell@wcllp.com


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                               EXHIBIT A

 Brown, Kelly              2:12-cv-08920
 Erskine, Monda            2:12-cv-09686
 Davis, Sylvia             2:13-cv-00574
 Sims, Lydia               2:13-CV-01110
 Hooper, Linda             2:13-cv-01686
 Schmid (Allard), Nancy    2:13-cv-02329




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ D. Renee Baggett_______________
                                            D. RENEE BAGGETT
                                            Aylstock, Witkin, Kreis and Overholtz, PLC
                                            17 E. Main Street, Suite 200
                                            Pensacola, FL 32563
                                            850-202-1010
                                            850-916-7449
                                            Rbaggett@awkolaw.com




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